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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


JOSE MORENO, Individually and On Behalf         Case No.: 2:18-cv-00510-JNP-PMW
of All Others Similarly Situated,
                                                NOTICE OF NON-OPPOSITION BY
                      Plaintiff,
                                                MICHAEL A. MOTTO TO COMPETING
v.                                              MOTION FOR APPOINTMENT AS
                                                LEAD PLAINTIFF AND APPROVAL OF
POLARITYTE, INC., DENVER LOUGH,                 COUNSEL
AND JEFF DYER,
                      Defendants.

        On August 27, 2018, pursuant to Section 21(D)(a)(3)(B) of the Securities Exchange Act

of 1934, as amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15

U.S.C. §78u-4(a)(3)(B), Michael Motto (“Movant”) timely filed a motion for appointment as

lead plaintiff, and approval of his selection of counsel in connection with the above-captioned

securities fraud class action. One similar motion was filed by another putative class member in

this action.

        The PSLRA provides a presumption that the “most adequate plaintiff” to represent the

interests of class members is the person or group that, among other things, has “the largest

financial interest in the relief sought by the class.” §15 U.S.C. 78u-4(a)(3)(B)(iii)(I). Having
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reviewed the competing motion and supporting papers provided by the other movant seeking

appointment as lead plaintiff, it appears that Movant does not possess the “largest financial

interest in the relief sought by the class” as required by the PSLRA.

        However, were the Court to determine that the other lead plaintiff movant with losses

larger than Movant’s are incapable or inadequate to represent the class in this litigation, Movant

remains willing and able to serve as lead plaintiff or as class representatives. By this Notice of

Non-Opposition, Movant does not waive his rights to participate and recover as class members in

this litigation.

 DATED: September 7, 2018                    CHRISTENSEN & JENSEN

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